 

Case 3:11-cv-02315-RPC Document 75 Filed 09/30/13 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Manolin J. Mercado

 

Plaintiff, : Judge Conaboy) FILED
vs, : ANTON
33:11-CV-2315 SCRANTO
Prim 570, Inc. : SEP 30 2013
d/b/a Pub 570, et al. :
Defendants. PE <
ORDER OF DISMISSAL DEPUTY CLERK

 

Counsel having reported to the Court that the above action has been settled,
IT IS ORDERED that this action is hereby dismissed without prejudice to the right, upon

good cause shown within ninety (90) days, to reinstate the action if the settlement is not

wy ALY

Richard P. Conaboy
United States District Judge

consummated.

DATE: September 30, 2013
